              Case 2:20-cv-01075-RSM Document 8 Filed 09/22/20 Page 1 of 3




                                                       THE HONORABLE RICARDO S. MARTINEZ
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 7.                              UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8.                                       AT SEATTLE
 9.   KEVIN T. HAINES,                                     IN ADMIRALTY
10.
                             Plaintiff,                    Case No. 2-20-cv-01075-RSM
11.
      vs.                                                  STIPULATION AND ORDER OF
12.                                                        DISMISSAL WITH PREJUDICE
      NANCY H. BLAKEY, individually and as
13.
      President and Shareholder of Snopac
14.   Products, Inc., dissolved, and as the Personal
      Representative of the Estate of George B.
15.   Blakey.

16.                          Defendant.
17.

18.          IT IS HEREBY STIPULATED AND AGREED by and between plaintiff, KEVIN T.
19.   HAINES, and defendant NANCY H. BLAKEY, individually and as President and Shareholder
20.   of Snopac Products, Inc., dissolved, and as the Personal Representative of the Estate of George
21.   B. Blakey, acting by and through their respective counsel, that the above-entitled action as to all
22.   claims shall be dismissed with prejudice and without costs, this matter having been fully settled
23.   and compromised between plaintiff and defendant.
24.   ///
25.   ///
26.   ///


                                                                            LAW OFFICES OF
       STIPULATION AND ORDER OF DISMISSAL                            NICOLL BLACK & FEIG
       WITH PREJUDICE – 1                                       A PROFESSIONAL LIMITED LIABILITY COMPANY
                                                                      1325 FOURTH AVENUE, SUITE 1650
       CASE NO. 2:20-cv-01075-RSM                                       SEATTLE, WASHINGTON 98101
                                                                               206-838-7555
               Case 2:20-cv-01075-RSM Document 8 Filed 09/22/20 Page 2 of 3




 1.           DATED this __ day of September, 2020.

 2.
       HAROLD A. THOREEN, P.S., INC.                        NICOLL BLACK & FEIG PLLC
 3.

 4.

 5.    Harold A. Thoreen, WSBA No. 6378                     Rodney Q. Fonda, WSBA No. 6594
       Attorneys for Plaintiff Kevin T. Haines              Attorneys for Defendants Nancy H. Blakey
 6.

 7.                                               ORDER
 8.           THIS MATTER having come before the undersigned judge of the above-entitled Court,
 9.   based on the foregoing stipulation, now, therefore,
10.           IT IS HEREBY ORDERED that this matter, including all claims and all remaining
11.   defendants, shall be dismissed from the above-entitled action with prejudice and without costs or
12.   interest to any party.
13.

14.           DATED this 22nd day of September, 2020.
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                                                   RICARDO S. MARTINEZ
18.                                                CHIEF UNITED STATES DISTRICT JUDGE
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                                                                            LAW OFFICES OF
       STIPULATION AND ORDER OF DISMISSAL                            NICOLL BLACK & FEIG
       WITH PREJUDICE – 2                                       A PROFESSIONAL LIMITED LIABILITY COMPANY
                                                                      1325 FOURTH AVENUE, SUITE 1650
       CASE NO. 2:20-cv-01075-RSM                                       SEATTLE, WASHINGTON 98101
                                                                               206-838-7555
              Case 2:20-cv-01075-RSM Document 8 Filed 09/22/20 Page 3 of 3



                                       CERTIFICATE OF SERVICE
 1.
             I hereby certify that on the date set forth below, I electronically filed the foregoing with
 2.   the Clerk of the Court using the CM/CF system which will send notification of such filing to the
      following:
 3.
       Counsel for Plaintiff
 4.
       Harold A. Thoreen
 5.    Harold A. Thoreen, P.S., Inc.
       1715 W. Nickerson St.
 6.    Seattle, WA 98119
       hthoreen@hatlaw.net
 7.
             DATED this 8th day of September, 2020.
 8.

 9.

10.
                                                       /s/ Rodney Q. Fonda
11.                                                    Rodney Q. Fonda, WSBA No. 6594
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                                                                           LAW OFFICES OF
       STIPULATION AND ORDER OF DISMISSAL                           NICOLL BLACK & FEIG
       WITH PREJUDICE – 3                                      A PROFESSIONAL LIMITED LIABILITY COMPANY
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       CASE NO. 2:20-cv-01075-RSM                                      SEATTLE, WASHINGTON 98101
                                                                              206-838-7555
